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 7
 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No.: 20-CV-01375-BEN-LL
12                  Petitioner,                 THE UNITED STATES’ REPLY TO
13             v.                               RESPONDENT’S OPPOSITION
14   THE BUREAU of CANNABIS
     CONTROL, a State of California
15   agency,
16                  Respondent.
17
18         The Bureau of Cannabis Control (“BCC”) now invokes both relevancy and
19 reasonableness in refusing to comply with the administrative subpoena at issue here.1
20 But the BCC does not actually argue that the documents requested are irrelevant to
21 a Drug Enforcement Administration (“DEA”) investigation, or that the request is
22 unreasonably overbroad or would cause undue burden. Instead, the BCC attempts
23 to shift the burden to the DEA to submit a declaration or affidavit establishing these
24 factors. (See Resp’t’s Opp’n, 2) (“the DEA must submit evidence showing the
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26         1
           The BCC states that it initially raised state law objections because it was
27 obligated to do so as a State of California administrative agency, but it appears to no
   longer argue that the state laws apply. (Resp’t’s Opp’n, 8-9.)
28
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 1 relevance and reasonableness of the subpoena.”). The BCC has not provided any
 2 federal authority for this purported requirement, because there is none. The DEA
 3 has met the prerequisites for issuance of a valid administrative subpoena, and last
 4 year a district judge of this court rejected the very arguments the BCC makes here.
 5 The DEA respectfully requests that this Court do the same, and enforce
 6 the Subpoena.
 7                                     ARGUMENT
 8          The Subpoena, which was issued by the DEA, which requests specific
 9 documents related to a controlled substance, and which is pursuant to a
10 Controlled Substances Act (“CSA”) investigation, satisfies the relevance and
11 reasonableness standards. As a court in this district recently stated, the law does not
12 require the DEA to provide a particularized showing of the investigation to the
13 responding party, nor does it require the DEA to provide a separate declaration
14 establishing relevance and reasonableness to enforce an administrative subpoena.
15 See United States v. State of California, 3:18-cv-2868, 2019 WL 2498312, at *2
16 (S.D. Cal. May 9, 2019).
17       1. The Relevance Standard is Satisfied
18          Courts “must enforce administrative subpoenas unless the evidence sought by
19 the subpoena is plainly incompetent or irrelevant to any lawful purpose of the
20 agency.” United States v. Golden Valley Elec. Ass’n, 689 F.3d 1108, 1113-14
21 (9th Cir. 2012) (emphasis added).        Relevance is determined in terms of the
22 investigation, not as prospective trial evidence, and the Ninth Circuit has emphasized
23 that this prong of the inquiry is “not especially constraining.” Id. The CSA’s
24 subpoena requirement is that DEA personnel find that the records sought are
25 “relevant or material to the investigation.” 21 U.S.C. § 876(a).
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27 ///
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 1          Here, the DEA subpoenaed the documents precisely because they are relevant
 2 and material to a DEA investigation. The Subpoena specifically states that “[t]he
 3 information sought . . . is relevant and material to a legitimate law enforcement
 4 inquiry.” (Pet’r’s Pet. Ex. A, ECF No. 1-3 (the Subpoena).) It further provides that
 5 there is a “criminal investigation being conducted.” (Id.) This certification on the
 6 Subpoena is not meaningless boilerplate language as the BCC suggests.
 7 (See Resp’t’s Opp’n, 4.) This certification is confirmed by the authorizing official,
 8 a DEA supervisor, and satisfies the “not especially constraining” relevance
 9 requirement because it makes clear that the records are relevant to a DEA
10 investigation. See Golden Valley, 689 F.3d at 1113; see also State of California,
11 2019 WL 2498312, at *2.
12          A. A Particularized Showing is Not Required
13          The BCC misconstrues the relevance standard as requiring a particularized
14 showing “describing the nature of the investigation, and explaining how the
15 subpoenaed records are relevant to the investigation.” (Resp’t’s Opp’n, 6.) But no
16 such requirement exists, and binding authority plainly contradicts the BCC’s
17 position. See, e.g., Golden Valley, 689 F.3d at 1113-14 (holding that courts “must
18 enforce administrative subpoenas unless the evidence sought by the subpoena is
19 plainly incompetent or irrelevant to any lawful purpose of the agency”). Indeed,
20 “[t]he information subpoenaed does not need to be relevant to a crime; in fact, it may
21 be used to dissipate any suspicion of a crime.” Id. at 1114.
22          Here, the DEA is the federal agency tasked with oversight of controlled
23 substances, which includes marijuana (cannabis), and the Ninth Circuit has expressly
24 recognized that “[a]s part of its oversight of drugs subject to the [CSA], the [DEA]
25 regularly issues investigative subpoenas.” Oregon Prescription Drug Monitoring
26 Program v. U.S. Drug Enf’t Admin., 860 F.3d 1228, 1230 (9th Cir. 2017). This
27 Subpoena directly serves DEA’s mission to enforce controlled substances laws and
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 1 regulations. While this alone demonstrates that the Subpoena is relevant to a “lawful
 2 purpose of the agency,” the face of the Subpoena further attests to the records’
 3 relevance        to     an   ongoing   federal   investigation.       See Golden Valley,
 4 689 F.3d at 1113-14.
 5          The BCC’s demand for a heightened showing of relevance also ignores
 6 Ninth Circuit law, which states that mere suspicion of misconduct is alone sufficient
 7 to support issuance of an administrative subpoena: “an administrator’s ‘power of
 8 inquisition’ ‘is more analogous to the Grand Jury, which . . . can investigate merely
 9 on suspicion that the law is being violated, or even just because it wants assurance
10 that it is not.’”        Golden Valley, 689 F.3d at 1116 (quoting United States v.
11 Morton Salt, 338 U.S. 632, 642-43 (1950)); see also Sandsend Fin. Consultants, Ltd.
12 v. Fed. Home Loan Bank Bd., 878 F.2d 875, 882 (5th Cir. 1989) (“So long as the
13 material requested touches a matter under investigation, an administrative subpoena
14 will survive a challenge that the material is not relevant.”) (internal quotations
15 omitted).
16          The Subpoena, which was properly authorized, states that it seeks the
17 documents pursuant to an investigation. The United States is not required to divulge
18 the specifics of an investigation to the responding party beyond the certification on
19 a properly authorized subpoena. Thus, a particularized showing is not required here.
20          B. A Declaration is Not Required
21          The BCC also appears to take the position that a declaration is required to
22 establish relevance. (Resp’t’s Opp’n, 6-7.) But, again, no such requirement exists.
23 While the DEA could provide a declaration essentially repeating the substance of
24 the subpoena itself, for the Court to require that extra procedural step here and
25 essentially for all administrative subpoenas would contravene controlling
26 Ninth Circuit authority.2 Golden Valley held that the mere fact that an administrative
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          In demanding a declaration (followed by a court order) as a prerequisite to
28 complying with an administrative subpoena, the BCC essentially disregards
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 1 subpoena was authorized and served in the first place satisfies the procedural
 2 requirement for certifying relevance. Golden Valley, 689 F.3d at 1114 (holding that
 3 the relevance prong was satisfied because “[a] DEA supervisor signed and issued
 4 the administrative subpoena directed to [the respondent], and a DEA agent served
 5 the subpoena”).3 Here, a DEA Group Supervisor issued the subpoena, and a DEA
 6 Special Agent served it on the BCC, thus satisfying the Ninth Circuit’s requirement.
 7 See Golden Valley, 689 F.3d at 1114.
 8      2. The Reasonableness Standard is Satisfied
 9          The BCC claims, for the first time, that the United States has failed to satisfy
10 a Fourth Amendment prohibition against administrative subpoenas that are “too
11 indefinite or broad.” (Resp’t’s Opp’n, 8.) The BCC again appears to take the
12 position that the United States must produce a declaration demonstrating that the
13 Subpoena satisfies this standard.       But, in fact, the BCC bears the burden of
14 demonstrating unreasonableness.          See Golden Valley, 689 F.3d at 1115 (“A
15 subpoena should be enforced unless the party being investigated proves the inquiry
16 is unreasonable because it is overbroad or unduly burdensome.”) (internal quotation
17 marks and citation omitted). “[T]he requirement of reasonableness comes down to
18 whether specification of the documents to be produced is adequate, but not
19 excessive, for the purposes of the relevant inquiry.” Id. (internal quotation marks
20 and citation omitted).      The reasonableness review is “quite narrow,” and the
21
     established administrative subpoena procedure, and only recognizes a showing
22
     reserved for a process similar to a Grand Jury subpoena or a search warrant.
23          3
             Even the Fifth Circuit’s United States v. Zadeh, which the BCC references,
24   does not require a declaration. See 820 F.3d 746, 758 (5th Cir. 2016) (providing that
     in an enforcement action, “[t]he government may establish its prima facie case by
25   an affidavit of an agent involved in the investigation averring the [required]
26   elements”) (emphasis added); see generally United States v. ASG Solutions Corp.,
     No. 17-cv-01224-L-BGS (S.D. Cal. July 18, 2018), ECF No. 23 (enforcing a
27   False Claims Act Civil Investigative Demand with no accompanying declaration,
28   and overruling an objection that the requested documents were not relevant).

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 1 United States cannot be required to “meet a higher standard” such as to demonstrate
 2 probable cause. See id. at 1113, 1115.
 3          Here, the scope of the narrowly-tailored Subpoena is specific as to parties
 4 (six), documents (three types), and timeframe (two years). In response to the DEA’s
 5 reasonable request, the BCC states that “[t]he United States has failed to provide any
 6 information from which this Court or the [BCC] can ascertain whether the scope of
 7 the request is reasonable in the context of the investigation.” (Resp’t’s Opp’n, 7.)
 8          The Subpoena is neither too indefinite nor overbroad. The Subpoena “should
 9 be enforced” because the BCC has not “proved” that the request is “overbroad or
10 unduly burdensome” in relation to the narrow inquiry.            See Golden Valley,
11 689 F.3d at 1115. And, as discussed below, DEA disclosed as much as it reasonably
12 could to the BCC about the nature of the investigation in attempting to resolve this
13 issue without litigation. See Ex. A.
14      3. A Court in this District Recently Decided this Issue in a Very Similar
           DEA Administrative Subpoena Enforcement Action
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16          The BCC, a State of California agency, takes the position that the DEA must

17 file an affidavit or declaration to establish relevance and reasonableness. The
18 California Attorney General’s Office took this same position in United States
19 v. State of California, 3:18-cv-2868, 2019 WL 2498312 (S.D. Cal. May 9, 2019). In
20 State of California, the DEA served the State of California with an administrative
21 subpoena, pursuant to 21 U.S.C. § 876, requiring California to produce prescription
22 drug records. State of California, 3:18-cv-2868, Pet’r’s Pet., ECF No. 1. California
23 argued that the DEA must file a declaration with the district court to establish
24 relevance and reasonableness. See State of California, Resp’t Opp’n to Pet.,
25 ECF No. 4. The United States contended that it satisfied the “not especially
26 constraining” relevance and reasonableness requirements and that there is no legal
27 requirement to provide a declaration essentially repeating the substance of the
28 subpoena itself. See State of California, Pet’r’s Reply to Opp’n, ECF No. 8. The
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 1 Magistrate Judge disagreed with the United States and held that a declaration was
 2 required. See State of California, ECF No. 9. The United States complied, and the
 3 Magistrate Judge granted enforcement. See State of California, ECF Nos. 12-1,
 4 12-2, and 14. The District Judge denied California’s request for reconsideration,
 5 required California to comply with the subpoena, and noted that “[a]lthough required
 6 by the magistrate judge here, the Court does not agree that F.D.I.C. v. Garner,
 7 126 F.3d 1138, 1142-43 (9th Cir. 1997) requires an agency to file a declaration when
 8 seeking enforcement of an administrative subpoena in district court.”                 See
 9 State of California, ECF No. 19, at 4 (also cited as 2019 WL 2498312). The
10 District Judge further stated that “the Court finds that ‘the [not] especially
11 constraining’ relevance standard could have been satisfied upon a facial reading of
12 the subpoena itself.” Id.4 (The subpoena at issue in this action stated there was an
13 ongoing investigation.) (emphasis added); see also EEOC v. Federal Express Corp.,
14 558 F.3d 842, 854 (9th Cir. 2009) (“the relevance requirement is not especially
15 constraining” (internal quotation marks omitted)). In sum, a court in this district has
16 recently considered facts and arguments nearly identical to those at issue here, and
17 the result here should be the same – that a declaration is not required.5
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20          4
             The District Judge went on to mention that the court “gather[ed]” that an
21 ongoing DEA investigation was related to possible diversion of fentanyl and a
   related death. Id. The District Judge continued that the information “was plainly
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   identified in the communications between the agencies before the petition was filed.”
23 Id. at 5; see also State of California, ECF Nos. 18, at 3-4 (describing the
   communication) and 18-1, at 36 (the email communication).
24
           5
             The BCC briefly suggests, without legal support, that if the Court grants the
25 United States’ petition, it should impose extra-judicial constraints on the DEA’s use
26 of the documents. (Resp’t’s Opp’n, 4.) The State of California court also addressed
   this issue and held that existing law already limits the DEA’s use and privacy rights
27 are already protected. See State of California, 2019 WL 2498312, at *3 (referencing
28 the Privacy Act, 5 U.S.C. § 552a).
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 1       4. The BCC has Known that the Documents are Relevant
 2          The United States has satisfied every requirement necessary to enforce the
 3 Subpoena. And even though there is no legal requirement to make a particularized
 4 showing         of      relevance    through     a        declaration,   see    State of California,
 5 2019 WL 2498312, at *2, the DEA in fact did inform the BCC of the documents’
 6 relevance to an ongoing investigation.
 7          In an effort to work cooperatively with the BCC before issuing the Subpoena,
 8 the DEA explained to the BCC why it was requesting the documents. Specifically,
 9 the     DEA          told   the     BCC   that       it    was    looking      into   the    possible
10 importation/transportation of a controlled substance from Mexico by specific
11 licencees. See Ex. A (email).6 In the interest of avoiding potentially compromising
12 an ongoing investigation, the United States has submitted a redacted version of that
13 communication for this public filing. The BCC has thus known from the outset that
14 the documents requested in the Subpoena are relevant to an ongoing DEA
15 investigation.
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            The undersigned Assistant U.S. Attorney represents that Exhibit A is a true
27 and correct copy of an email (redacted) that the DEA provided to him. The DEA
28 sent this initial email to the BCC’s general email address.
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 1                                   CONCLUSION
 2          The DEA certified on the face of the Subpoena that the documents requested
 3 are relevant to an investigation, and the records are specific and narrow in
 4 accordance with the Fourth Amendment reasonableness requirement. A declaration
 5 is not required to re-certify this certification, and no further showing by the
 6 United States is necessary to meet the quite narrow scope of judicial inquiry into
 7 enforcement proceedings for administrative subpoenas.            The United States,
 8 therefore, respectfully requests an order enforcing compliance with the Subpoena
 9 without restrictions beyond the current statutory and regulatory limitations that
10 govern the United States’ use of the records.
11                                                 Respectfully submitted,
12
13 DATED: August 5, 2020                           ROBERT S. BREWER, JR.
                                                   United States Attorney
14
15                                                 s/ Dylan M. Aste
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17                                                 Attorneys for the United States
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